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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

JOSE L. FRANKLIN a/k/a      )
MONICA JAMES,               )
                            )
    Plaintiff,              )
                            )                          1:17 C 8376
            v.              )                          Hon. Marvin E. Aspen
                            )
HOWARD BROWN HEALTH CENTER, )
                            )
    Defendant.              )

                                              ORDER

MARVIN E. ASPEN, District Judge:

       Presently before us is the Report and Recommendation (“Report”) of Magistrate Judge

Jeffrey Cole on Plaintiff’s motion for discovery sanctions. (Mot. for Sanctions (Dkt. No. 56);

Report (Dkt. No. 80).) The Report recommends granting Plaintiff’s motion and proposes

specific sanctions under Federal Rule of Civil Procedure 37(e). (Report at 13–14.) Neither party

filed objections to the Report by the deadline. After careful consideration of the Report and the

parties’ submissions, pursuant to Federal Rule of Civil Procedure 72(a), we hereby adopt the

Report and its proposed sanctions. Accordingly, Plaintiff’s motion for discovery sanctions is

granted, and the parties will be allowed to present evidence and argument to the jury regarding

Defendant’s obstruction or failure to preserve electronic evidence. In addition, we will consider

appropriate jury instructions regarding this evidence at trial. It is so ordered.



                                                       ___________________________________
                                                       Marvin E. Aspen
                                                       United States District Judge

Dated: November 7, 2018
       Chicago, Illinois
